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UNITED STAT ES DISTRICT COURT |
SOUTHERN DISTRICT OF TEXAS

McALLEN DIVISION
UNITED STATES OF AMERICA § (
v. 3 Criminal No. M-20-0240-S3-02 |
EVARISTO SEPULVEDA 3

NOTICE OF PLEA AGREEMENT
COMES NOW the United States of America, hereinafter referred to as "the Government,"
by and through its United States Attorney for the Southern District of Texas and its Assistant
United States Attorney assigned to this matter, and would respectfully show the Court that the

Government and the Defendant have entered into the following plea agreement:

1. Defendant agrees:
a. to plead guilty to Count One of the Indictment; and
b. _that the asset(s) listed in the Notice of Forfeiture is/are subject to forfeiture

to the United States and waives any and al] interest in said asset(s) and
agrees to the judicial or administrative forfeiture of any and all identified
assets, including but not limited to all property, real or personal, involved
in the offense and any property traceable to such property. Defendant
further agrees to waive any and all procedural notice requirements for
forfeiture.

2. The Government will recommend:

a. | that the offense level decrease by 2 levels pursuant to U.S.S.G. § 3E1.1(a) .
if the defendant clearly demonstrates acceptance of responsibility; and

b. that: the remaining counts of the superseding indictment and remaining
indictments be dismissed at the time of sentencing.

If the Defendant is not a citizen of the United States of America, a plea of guilty may result
in removal from the United States, denial of . citizenship and denial of admission to the United
States in the future. Ifthe Defendant is a naturalized United States citizen, a plea of guilty may
result in denaturalization.

This document states the complete and only Plea Agreement between the United States of
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America and the Defendant, and is binding only on the parties to this Agreement, and it supersedes
all prior understandings, if any, whether written or oral, and cannot be modified other than in
writing and signed by all parties or on the record in Court. No other promises or inducements
have been or will be made to the Defendant in connection with this case, nor have any promises
or threats been made in connection with this plea.

ACKNOWLEDGMENTS:

I have read this agreement and carefully reviewed every part of it with my attorney. If]
have difficulty understanding the English language, I have had a person fluent in the Spanish
language interpret this agreement to me. .

Date: Lt / 4 [é / Defendant: {ves /s do Syulve de
Iam the Defendant's counsel. I have carefully reviewed every part of this agreement with

the Defendant. I certify that this agreement has been translated to my client by a person fluent in

     

the Spanish language if my client is unable to read orfhas/ difficulty understanding the English

Me.

JENNIFER B. LOWERY
Acting United States Attorney

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PATRICIA COOK PROFIT
Assistant United States Attorney

language.
Date: MY iy 2f

For the United States of America:

 

 

APPROVED BY:

ea

Angel Castro
Assistant United States Attorney in Charge

 
